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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


SAM’S WEST, INC. and
WALMART APOLLO, LLC,

                       Plaintiffs,

       v.

BJ’S WHOLESALE CLUB
HOLDINGS, INC.,

                 Defendant.
_________________________________/

                  COMPLAINT AND DEMAND FOR JURY TRIAL
                         AND INJUNCTIVE RELIEF

       Plaintiffs Sam’s West, Inc. and Walmart Apollo, LLC (collectively,

“Plaintiffs” or “Sam’s Club”) hereby assert the following claims for patent

infringement against Defendant BJ’s Wholesale Club Holdings, Inc. (“BJ’s” or

“Defendant”), and allege as follows:

                                     INTRODUCTION

       1.        Beginning more than a decade ago, Sam’s Club along with parent

company Walmart Inc. (“Walmart”), pioneered novel methods for effectuating a

faster, easier, and more convenient, check-out processes for retail customers.

Sam’s Club’s patented technology, for example, allows customers to convert their

mobile devices into mobile point-of-sale devices and execute check-out without



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having to go to a traditional cashier or self-checkout station.       Sam’s Club’s

patented technology also, in one embodiment, makes use of a customer’s mobile

device to identify location-based retail services, which might include purchasing

goods and services, processing a pharmacy order, an electronic receipt (i.e., an e-

receipt) from a purchase, and returning an item from the e-receipt.

        2.       Sam’s Club and Walmart invested significant time, effort, and

resources to develop the technology, including investing in and seeking patent

protection on the inventions.

        3.       Sam’s Club also invested significant time and effort to develop its

own feature in the Sam’s Club mobile application called Scan & Go. Scan & Go is

a free feature that allows Sam’s Club members to scan products while shopping

in-store and make payments in the app without having to go through a checkout

line.

        4.       But after years of hard work, Plaintiffs’ innovations were simply

taken without permission by Defendant BJ’s.

        5.       Plaintiffs are informed and believe that in approximately November

2017, BJ’s released its mobile application (“BJ’s Mobile App”). In Q4 2021, BJ’s

released its Express Pay functionality included as part of the BJ’s Mobile App.

Express Pay is strikingly similar to Sam’s Club’s Scan & Go, offering nearly

identical functionality. According to BJ’s, Express Pay enables BJ’s Wholesale


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Club members to scan items using BJ’s Mobile App as they shop to make checkout

faster.1 BJ’s Express Pay allows a customer to “[s]can your item’s barcode & add

it to your cart,” and “[w]alk right past the checkout line, no need to wait.”2

         6.      BJ’s Mobile App and Express Pay have been successful for BJ’s.

Indeed, because of the success of the limited release of Express Pay, BJ’s made

Express Pay functionality available in the majority of club locations in Q4 2021.

BJ’s Mobile App and Express Pay incorporates Sam’s Club’s technology without

Sam’s Club’s permission and infringes the Asserted Patents (defined below).

         7.      Sam’s Club has 46 locations in the State of Florida, including, at least,

at the following addresses: 7701 E. Colonial Dr., Orlando, FL 32807; 7810 W.

Colonial Dr., Orlando, FL 32818; 9498 S. Orange Blossom Tr., Orlando, FL 32837;

and 11920 Narcoossee Rd, Orlando, FL 32832.

         8.      As a result of Defendant’s infringement in this District, Plaintiffs have

suffered, and will continue to suffer, significant damages and irreparable harm.

This action is to remedy that infringement and to enforce Plaintiffs’ patent rights

against BJ’s.




1   Express Pay at BJ's Wholesale Club | BJs Help Center
2   BJs.com - BJ's Wholesale Club

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                              NATURE OF THE ACTION

       9.        This is a civil action for patent infringement under the patent laws of

the United States, 35 U.S.C. § 1, et seq.

       10.       Defendant has directly infringed and continues to infringe, has

contributed to and continues to contribute to infringement of, and has induced

and continues to induce infringement of one or more claims of U.S. Patent Nos.

10,803,435 (the “’435 Patent”), 10,121,133 (the “’133 Patent”), 10,368,187 (the “’187

Patent”), and 10,368,188 (the “’188 Patent”) (collectively, the “Asserted Patents”)

through its development, use, and commercialization of the BJ’s Mobile App and

BJ’s Express Pay.

       11.       As explained in more detail below, Plaintiffs are the legal owner and

exclusive licensee of the Asserted Patents, which were duly and legally issued by

the United States Patent and Trademark Office (“USPTO”).                Plaintiffs seek

injunctive relief and monetary damages.

                                     THE PARTIES

       12.       Plaintiff Sam’s West, Inc. is a corporation existing under the laws of

the State of Delaware, with its principal place of business at 702 S.W. 8th Street

#555, Bentonville, Arkansas, 72716.




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       13.       Plaintiff Walmart Apollo, LLC is a limited liability company existing

under the laws of the State of Delaware, with its principal place of business at 702

S.W. 8th Street #555, Bentonville, Arkansas, 72716.

       14.       On information and belief, Defendant BJ’s is a corporation existing

under the laws of the State of Delaware, with its principal place of business at 25

Research Drive, Westborough, Massachusetts 01581.

                            JURISDICTION AND VENUE

       15.       This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331, 1332 and 1338(a) because this is a patent infringement action

that arises under the patent laws of the United States, 35 U.S.C. § 1 et seq.

       16.       This Court has personal jurisdiction over Defendant BJ’s.

       17.       BJ’s has committed, and continues to commit, acts of infringement in

this District, has conducted business in this District, and/or has engaged in

continuous and systematic activities in this District.

       18.       On information and belief, BJ’s has at least 35 locations within the

State of Florida, including at the following addresses: 1540 W Boynton Beach Blvd.,

Boynton Beach, FL 33436; 1929 NE Pine Island Rd., Cape Coral, FL 33909; 26996

US Highway 19 N Clearwater, Clearwater, FL 33761; 2577 S. Hwy. 27, Clermont,

FL 34711; 620 Riverside Dr., Coral Springs, FL 33071; 7050 Coral Way, Miami, FL

33155; 10425 Marlin Rd., Cutler Ridge, FL 33157; 5100 NW. 9th Ave., Fort


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Lauderdale, FL 33309; 9372 6 Mile Cypress Parkway, Fort Myers, FL 33912; 8005

NW 95th St., Hialeah, FL 33016; 4000 Oakwood Blvd., Hollywood, FL 33020; 650

SE 8th St., Homestead, FL 33034; 12200 Atlantic Blvd., Jacksonville, FL 32225; 8046

Philips Hwy., Jacksonville, FL 32256; 4150 NW Federal Hwy., Jensen Beach, FL

34957; 7007 SW 117th Ave., Kendall, FL 33183; 1100 W Osceola Pkwy., Kissimmee,

FL 34741; 13585 NE 86th Path, Lady Lake, FL 32159; 1155 Palm Bay Rd. NE,

Melbourne, FL 32905; 415 East Merritt Ave., Merritt Island, FL 32953; 17250 NW

57th Ave., Hialeah, FL 33015; 560 Blanding Blvd, Orange Park, FL 32073; 4697

Millenia Plaza Way, Orlando, FL 32839; 12190 Lake Underhill Rd., Orlando, FL

32825; 5901 W Hillsboro Blvd., Parkland, FL 33067; 13700 Pines Blvd., Pembroke

Pines, FL 33027; 7005 North Davis Highway, Pensacola, FL 32504; 19150 Quesada

Ave, Port Charlotte, FL 33948; 1800 Dunlawton Ave., Port Orange, FL 32127; 500

N State Road 7, Royal Palm Beach, FL 33411; W State Rd. 46 and Upsala Rd.,

Sanford, FL 32771; 8085 Cooper Creek Blvd., University Park, FL 34201; 6290

Commerce Palms Blvd., Tampa, FL 33647; 7651 W. Waters Ave, Tampa, FL 33615;

16200 SW 88th St., Miami, FL 33196.

       19.       This Court has personal jurisdiction over BJ’s in this action because

BJ’s has committed acts within this District giving rise to this action and has

established minimum contacts with this forum such that the exercise of

jurisdiction over BJ’s would not offend traditional notions of fair play and


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substantial justice.       BJ’s has committed and continues to commit acts of

infringement by, among other things, making, using, offering to sell, and selling

products and/or services that infringe the Asserted Patents, including BJ’s Mobile

App and Express Pay.

       20.       This Court has specific personal jurisdiction over BJ’s in this action

pursuant to due process and the Florida Long-Arm Statute because the claims

asserted herein arise out of or are related to BJ’s voluntary contacts with this

forum, such voluntary contacts including but not limited to: (i) at least a portion

of the actions complained of herein; (ii) purposefully and voluntarily placing BJ’s

Mobile App and Express Pay into this District and into the stream of commerce

with the intention and expectation that it will be acquired by customers and used

in this District; or (iii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, or deriving substantial revenue from goods and

services, including BJ’s Mobile App and Express Pay, provided to customers in

Florida and in this District.

       21.       Venue is proper in this District under 28 U.S.C §§ 1391(b)(3) and

1400(b) for at least the reasons set forth above. BJ’s is registered to do business in

Florida, and BJ’s has transacted business in this District. BJ’s has regular and

established places of business in this District. BJ’s has committed acts of direct and

indirect infringement in this District.


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       22.       BJ’s offers its products and/or services, including those accused

herein of infringement, to customers and potential customers located in Florida

and in this District. As non-limiting examples, BJ’s distributes products directly

to customers and through its partners, including through Google’s Google Play.

Among its other businesses, BJ’s is in the business of providing mobile-payment

services in this District.

                                ASSERTED PATENTS

       23.       This cause of action asserts infringement of the ’435 Patent, the ’133

Patent, the ’187 Patent, and the ’188 Patent (collectively, the “Asserted Patents”).

       24.       The USPTO rigorously scrutinizes applications related to data

processing and telecommunications inventions, such as the inventions claimed in

the Asserted Patents. That includes a strict examination to determine if the patent

applications claim patent-eligible subject matter under 35 U.S.C. § 101. A true and

correct copy of the ’435 Patent, entitled “Method for self-checkout with a mobile

device,” with David M. Nelms, Jason R. Todd, Tim W. Webb, Philip W. Marbut,

and Douglas J. Ryner as the named inventors, is attached hereto as Exhibit 1.

       25.       The ’435 Patent duly and legally issued on October 13, 2020.

       26.       The ’435 Patent claims a specific, unconventional use of a mobile

payment device to conduct mobile self-checkout. Conventional checkout

technologies require the use of dedicated hardware at a static, singular, and


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inflexible locations. For example, a traditional cashier staffs an immobile checkout

station using dedicated checkout tools. The traditional cashier scans a customer’

item, and then receives tender, at such a checkout station.

       27.       By contrast, the ’435 Patent claims the use of a mobile self-checkout

invention, arranged in the particular, unconventional ordered combinations

disclosed in, for example, claim 1 of the ’435 Patent. Unlike conventional self-

checkout tools, the invention of the ’435 Patent does not require a specific checkout

location or hardware dedicated exclusively to checkout.

       28.       The unconventional invention of the ’435 Patent also enables a

number of technological benefits. For example, the ’435 Patent enables retail

establishments to streamline, limit, and even eliminate the need for conventional

checkout-related hardware at traditional checkout stations. Further distinguishing

conventional approaches to checkout, which require dedicated self-checkout

hardware, the invention of the ’435 Patent enables checkout via a multi-purpose

mobile device is converted into a mobile point-of-sale device, but that need not be

exclusive dedicated to self-checkout.

       29.       Prior to October 13, 2010, the priority date for the ’435 Patent, mobile

devices were not conventionally converted into mobile point-of-sale devices in

conformity with the ordered combination of specific instructions required by the

claims of the ’435 Patent.


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       30.       Walmart Apollo, LLC is the current owner by assignment of all rights,

title, and interest in and under the ’435 Patent. Sam’s Club is the exclusive licensee

of the ’435 Patent. Plaintiffs have standing to sue for infringement of the ’435

Patent.

       31.       A true and correct copy of the ’133 Patent, entitled “Method for self-

checkout with a mobile device,” with David M. Nelms, Jason R. Todd, Tim W.

Webb, Philip W. Marbut, and Douglas J. Ryner as the named inventors, is attached

hereto as Exhibit 2.

       32.       The ’133 Patent duly and legally issued on November 6, 2018.

       33.       The ’133 Patent, which shares a specification and priority date with

the ’435 Patent, also enables the inventive advantages described above in

paragraphs 27-30.

       34.       Moreover, the invention of the ’133 Patent claims additional

unconventional and inventive benefits. The ’133 Patent provides for a specific,

unconventional method for conducting a virtual checkout process. Unlike

conventional checkout processes, which require a variety of real-world peripheral

devices, the ’133 Patent provides for purchasing goods with a dynamically

generated unique identifier that is processed in an unconventional way, including

by using a state container as recited in the claims. The invention claimed in the

’133 Patent allows retailers to streamline and eliminate many or most of their


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peripheral hardware needs associated with conventional checkout terminals,

fundamentally altering—and improving—the conventional checkout process.

       35.       Moreover, the invention of the ’133 Patent explains that a number of

steps—which can be resource-intensive with respect to computing power and

processing power—are performed “on a server,” rather than being performed on

local checkout hardware. The ’133 Patent’s server-based processing allows for

streamlining and centralization of resources related to computer processing

power, rather than requiring each checkout device to have the full capability to

process all steps of a transaction. Thus, the ordered combination of limitations in

the ’133 Patent, including its server-based processing steps, improves

technologically over conventional devices that processed transactions locally.

       36.       Walmart Apollo, LLC is the current owner by assignment of all rights,

title, and interest in and under the ’133 Patent. Sam’s Club is the exclusive licensee

of the ’133 Patent. Plaintiffs have standing to sue for infringement of the ’133

Patent.

       37.       A true and correct copy of the ’187 Patent, entitled “Systems and

methods for identifying available location-based services,” with David M. Nelms

and Bradley J. Kieffer as the named inventors, is attached hereto as Exhibit 3.

       38.       The ’187 Patent duly and legally issued on July 30, 2019.




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       39.       The ’187 Patent claims unconventional uses of location-specific

computing devices, such as Bluetooth beacons, which work in conjunction with a

services management framework invented by Walmart to provide geographically

customized services to shoppers in a retail store. Walmart’s inventive services

management framework allows stores to evaluate the services that a customer is

originally seeking, and then to dynamically map the original service to other,

location-tailored services that are associated with the customer’s original need.

The claimed service management framework and its associated mapping function,

integrated with the claimed location-specific computing devices as claimed in the

’187 Patent, were neither known nor conventional before the priority date of the

’187 Patent. Moreover, the integration of the claimed services management

framework, mapping function, and location-specific devices enable a myriad of

technological benefits.

       40.       Walmart Apollo, LLC is the current owner by assignment of all rights,

title, and interest in and under the ’187 Patent. Sam’s Club is the exclusive licensee

of the ’187 Patent. Plaintiffs have standing to sue for infringement of the ’187

Patent.

       41.       A true and correct copy of the ’188 Patent, entitled “Systems and

methods for identifying available location-based services,” with David M. Nelms,




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Bradley J. Kieffer, and Eytan Daniyalzade as the named inventors, is attached

hereto as Exhibit 4.

       42.       The ’188 Patent duly and legally issued on July 30, 2019.

       43.       The ’188 Patent, which shares a specification and priority date with

the ’133 Patent, also enables the inventive advantages described above in

paragraphs 39-40. Among other things, the ’188 Patent integrates the

unconventional services management framework and associated mapping

functions into a distinctive set of systems that are disclosed in the ordered

combination of limitations in the claims of the ’188 Patent, based on dynamically

generated machine-readable elements, rather than location-specific computing

devices.

       44.       The claimed service management framework and its associated

mapping function, integrated with the claimed dynamically-generated machine-

readable element as claimed in the ’188 Patent, were neither known nor

conventional before the priority date of the ’188 Patent. Moreover, the integration

of the claimed services management framework, mapping function, and

dynamically-generated         machine-readable     element    enable   a     myriad   of

technological benefits.

       45.       Walmart Apollo, LLC is the current owner by assignment of all rights,

title, and interest in and under the ’188 Patent. Sam’s Club is the exclusive licensee


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of the ’188 Patent. Plaintiffs have standing to sue for infringement of the ’188

Patent.

                              FACTUAL BACKGROUND

                                 Sam’s Club’s Technology

       46.       The financial services and telecommunications-based financial

services industries, particularly within the retail environment, are industries of

active change and innovation.

       47.       Sam’s Club and Walmart have frequently been on the front lines of

that change and innovation.          Specifically, Sam’s Club and Walmart invest

significant time, effort, and resources to innovate and pursue patent protection for

inventions that benefit the customer checkout experience. Sam’s Club’s Scan and

Go technology is one such example of Walmart’s ability to innovate.

       48.       The Asserted Patents result from the inventive work of the following

inventors:

                 (a)   David M. Nelms (Bentonville, AR),

                 (b)   Jason R. Todd (Bentonville, AR),

                 (c)   Tim W. Webb (Rogers, AR),

                 (d)   Philip W. Marbut (deceased),

                 (e)   Douglas J. Ryner (Cave Springs, AR),

                 (f)   Bradley J. Kieffer (Bentonville, AR), and


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                 (g)   Eytan Daniyalzade (New York, NY).

       49.       The inventors’ technological solutions, reflected and claimed in the

Asserted Patents, provide novel solutions that improve customer service by

minimizing an individual’s wait time to receive services, while also improving the

ease and accuracy of performing multiple services by scanning a machine-

readable element using a mobile device. The novel solutions further improve the

efficiency of the computing environment by reducing network traffic by

automating the authentication, payment and selection of services at a location.

       50.       In 2016, Sam’s Club rolled out its Scan & Go feature, available within

the Sam’s Club mobile app. Scan & Go lets shoppers scan barcodes on items as

they load them into their cart, then pay directly from their phone to bypass the

checkout lanes.




       51.       Specifically, Sam’s Club’s Scan & Go feature permits members to

convert a mobile phone into a point-of-sale device. This is accomplished, in part,


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by activating the mobile phone’s camera to capture barcode data associated with

an item the member intends to purchase.




       52.       After the item is scanned, a virtual shopping cart is created to save

information associated with the scanned items. Once the member is ready to

checkout, the member can simply tap “Slide to Pay” and checkout with the items

in the virtual cart.




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       53.       Once a member’s payment has been authorized, Sam’s Club sends a

QR Code, which contains the receipt information, that will be scanned upon the

member’s exit from the store. After the QR Code is scanned by a Sam’s Club

associate, the member’s purchase is completed and a digital transaction receipt is

sent to the member.




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         54.     In short, Plaintiffs created novel, elegant technological solutions to

improving the retail customer’s checkout experience.

                                    BJ’s Infringing Activities

         55.     In 2021, BJ’s released its Express Pay functionality included as part of

the BJ’s Mobile App. According to BJ’s, Express Pay enables BJ’s Wholesale Club

members to scan items to BJ’s Mobile App as they shop to make checkout faster.3

Express Pay is an apparent copy of Sam’s Club’s Scan & Go, merely changing the

in-app colors and changing the name from Scan & Go to Express Pay.




3   Express Pay at BJ's Wholesale Club | BJs Help Center

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       56.       Specifically, like Sam’s Club’s Scan & Go, Express Pay, through the

BJ’s Mobile App, converts a customer’s mobile phone into a point-of-sale device.

This is accomplished, in part, by activating the mobile phone’s camera to capture

barcode data associated with an item the customer wishes to purchase.




       57.       After the item is scanned, BJ’s system creates a virtual shopping cart

to save information associated with the scanned items for purchase. Once the

customer is ready to checkout, the customer can simply tap “ExpressPay

Checkout” and checkout with the items in the virtual cart.




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       58.       Once a member’s payment has been authorized, BJ’s system sends a

QR Code, which contains the receipt information, that will be scanned upon the

member’s exit from the store. After the QR Code is scanned by a BJ’s employee,

the member’s purchase is completed and a digital transaction receipt is sent to the

member.




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         59.     BJ’s promotes Express Pay as a system that allows a customer to

“[s]can your item’s barcode & add it to your cart,” and “[w]alk right past the

checkout line, no need to wait.”4




         60.     On information and belief, BJ’s is infringing the Asserted Patents by

making, using, providing, offering to sell, and selling the BJ’s Mobile App and

Express Pay system in this District and elsewhere in the United States, and by

contributing to the infringement of, or inducing others to infringe the Asserted

Patents.




4   BJs.com - BJ's Wholesale Club

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                               COUNT I
             DIRECT INFRINGEMENT OF U.S. PATENT NO. 10,803,435

       62.       The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant.

       63.       Defendant’s services and products (including the BJ’s Mobile App

and Express Pay) (collectively, the “Accused Methods and Products”) are covered

by at least claim 1 of the ’877 Patent.

       64.       Claim 1 of the ’435 Patent recites:

                 A method of converting a mobile phone into a mobile point-of-sale
                 device, the method comprising:
                    executing a mobile self-checkout application on the mobile
                        phone, the mobile self-checkout application allowing a user of
                        the mobile phone to select items in a store and tender
                        payment for the selected items via a user interface rendered
                        by the mobile self-checkout application on a display of the
                        mobile phone;
                    initiating a session between the mobile phone and a server, the
                        session managed by a session manager;
                    rendering the user interface on a display of the mobile device by
                        the mobile self-checkout application;
                    in response to selection of a scanning function via the user
                        interface, activating an imaging device of the mobile phone to
                        capture identification information associated with a physical
                        object;
                    activating a radio transmitter of the mobile phone to transmit the
                        captured identification information associated with the
                        physical object to the server executing a virtual terminal sales
                        application;
                    receiving, by the mobile phone, item information associated with
                        the physical object from the server;


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                    generating, by the mobile phone, a virtual shopping cart to save
                       the item information associated with the physical object;
                    adding the item information of the physical object to the virtual
                       shopping cart to maintain the order;
                    receiving instructions via the user interface of the mobile self-
                       checkout application to check out, receiving, by the server,
                       payment information to complete a transaction for the order
                       in response to selection of a checkout function via the user
                       interface;
                    completing, by the server, the transaction for the order based on
                       the payment information; and
                    transmitting, by the server, receipt information to the mobile
                       phone in response to completion of payment for the order;
                    rendering, by the mobile phone on the display, the receipt
                       information in a machine-readable element; and
                    optically scanning the machine-readable element rendered on the
                       display of the mobile phone, by an optical scanning machine
                       in communication with the server, to confirm completion of
                       payment for the order.

       65.       Defendant has infringed and continues to infringe, literally and/or

under the doctrine of equivalents, at least claim 1 of the ’435 Patent in violation of

35 U.S.C. § 271(a) by, directly or through intermediaries and without Plaintiffs’

authority, making, using, selling, and/or offering to sell the Accused Methods and

Products in the United States.

       66.       By way of illustration and not as a limitation to the full scope of its

infringing activities, BJ’s infringes claim 1 of the ’435 Patent by having made and

used Express Pay. A more detailed analysis of BJ’s infringement of the ’435 Patent

can be found in Exhibit 5, which is incorporated in its entirety as if set forth herein.




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       67.       Defendant knew or should have known of the ’435 Patent but was

willfully blind to the existence of the ’435 Patent. Defendant has had actual

knowledge of the ’435 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’435 Patent. Defendant’s infringement of the ’435 Patent has been willful and

deliberate.

       68.       Defendant’s direct infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       69.       Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       70.       Defendant’s direct infringement has been without authority and/or

license from Plaintiffs.


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                            COUNT II
          INDUCED INFRINGEMENT OF U.S. PATENT NO. 10,803,435

       71.       The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 5 is also incorporated in its entirety as if set forth herein.

       72.       Defendant has been actively inducing infringement of at least claim 1

of the ’435 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused Methods

and Products directly infringed at least claim 1 of the ’435 Patent when it uses the

Accused Methods and Products in the ordinary, customary, and intended way as

set forth in BJ’s publications, which include but are not limited to those cited

above. Defendant’s inducements included, without limitation and with specific

intent to encourage the infringement, knowingly inducing consumers to use the

Accused Methods and Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying

the Accused Methods and Products to consumers within the United States and

instructing and encouraging such customers (for example, by offering Express

Pay) how to use the Accused Methods and Products in the ordinary, customary,

and intended way, which Defendant knows or should know infringes at least

claim 1 of the ’435 Patent.

       73.       Defendant’s inducements may further include, without limitation

and with specific intent to encourage the infringement, knowingly inducing

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customers to use the Accused Methods and Products within the United States, or

knowingly inducing customers to use the Accused Methods and Products within

the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the Accused

Methods and Products in the United States, which Defendant knows or should

know infringes at least claim 1 of the ’435 Patent.

       74.       Defendant knew or should have known of the ’435 Patent but was

willfully blind to the existence of the ’435 Patent. Defendant has had actual

knowledge of the ’435 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’435 Patent. Defendant’s infringement of the ’435 Patent has been willful and

deliberate.

       75.       Defendant’s induced infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.


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       76.       Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       77.       Defendant’s induced infringement has been without authority

and/or license from Plaintiffs.


                         COUNT III
     CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 10,803,435

       78.       The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 5 is also incorporated in its entirety as if set forth herein.

       79.       Defendant has been actively contributing to infringement of at least

claim 1 of the ’435 Patent in violation of 35 U.S.C. § 271(c). Defendant has installed

the Express Pay system and application to enable a user of a mobile device to select

items in a store and tender payment for the selected items via a user interface

rendered by the mobile self-checkout application, which is specially made or

especially adapted to practice the invention claimed in at least claim 1 of the ’435

Patent. Each Express Pay component constitutes a material part of the claimed

invention recited in at least claim 1 of the ’435 Patent and is not a staple article or

commodity of commerce because it is specifically configured according to at least


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claim 1 of the ’435 Patent. Defendant’s contributions include, without limitation,

making, offering to sell, and/or selling within the United States, and/or importing

into the United States, the Accused Methods and Products, which includes one or

more components for use in practicing the patented process, knowing the

component to be especially made or especially adapted for use in an infringement

of at least claim 1 of the ’435 Patent, and not a staple article or commodity of

commerce suitable for substantial non-infringing use.

       80.       Defendant knew or should have known of the ’435 Patent but was

willfully blind to the existence of the ’435 Patent. Defendant has had actual

knowledge of the ’435 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’435 Patent. Defendant’s infringement of the ’435 Patent has been willful and

deliberate.

       81.       Defendant’s contributory infringement has caused past and will

cause ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages

adequate to compensate for Defendant’s infringement.         Because Defendant’s

infringement has been and continues to be willful and deliberate, the Court should




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award enhanced damages under 35 U.S.C. § 284 and find this case exceptional and

award attorney’s fees under 35 U.S.C. § 285.

       82.       Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       83.       Defendant’s contributory infringement has been without authority

and/or license from Plaintiffs.

                              COUNT IV
             DIRECT INFRINGEMENT OF U.S. PATENT NO. 10,121,133

       84.       The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant.

       85.       The Accused Methods and Products are covered by at least claim 1 of

the ’133 Patent.

       86.       Claim 1 of the ’133 Patent recites:

                 A method for purchasing an item using a mobile device comprising:
                   executing a first application on a server;
                   receiving, on the server, from a mobile device, identification
                      information for each item to be purchased in response to an
                      interaction between a user and a user interface of the mobile
                      device;
                   executing a second application on the server, in response to
                      receiving the identification information for each item from the
                      mobile device;

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                 creating, on the server, an order associated with the session
                    including item information upon receiving, from the mobile
                    device, the identification information for each item to be
                    purchased as the identification information is received by the
                    server;
                 generating dynamically, on the server, a unique identifier
                    representing the order;
                 storing the order including item information associated with the
                    item and the dynamically generated unique identifier for the
                    order, in a state container within the first application on the
                    server, the item information being identified based on the
                    identification information;
                 importing, by the second application, the order from the state
                    container;
                 transmitting the item information imported by the second
                    application on the server to the mobile device, the item
                    information being included in a virtual shopping cart that is
                    (i) representative of the order stored on the server, (ii)
                    accessible on the mobile device, and (iii) associated with an
                    optical machine-readable representation dynamically
                    generated by the mobile device to include the dynamically
                    generated unique identifier encoded therein, the item
                    information being kept in the virtual shopping cart for a
                    predefined period of time, after which the item information is
                    deleted;
                 optically scanning, via an optical scanning machine of a point-of-
                    sale terminal, the optical machine-readable representation
                    displayed by the mobile device and corresponding to the
                    order to extract and decode the unique identifier encoded in
                    the optical machine-readable representation;
                 transmitting the dynamically generated unique identifier from
                    the point-of-sale terminal to the server to retrieve the order;
                 importing, by the second application, the order using the
                    dynamically generated unique identifier from the state
                    container;
                 receiving the order from the second application on the server
                    sever at the point-of-sale terminal in response to transmission
                    of the unique identifier to the server;



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                    completing, via the point-of-sale terminal, a transaction based on
                       the order received by the point-of-sale terminal from the
                       server; and
                    generating, by the point-of-sale terminal, a receipt
                       acknowledging completion of the transaction.

       87.       Defendant has infringed and continues to infringe, literally and/or

under the doctrine of equivalents, at least claim 1 of the ’133 Patent in violation of

35 U.S.C. § 271(a) by, directly or through intermediaries and without Plaintiffs’

authority, making, using, selling, and/or offering to sell the Accused Methods and

Products in the United States.

       88.       By way of illustration and not as a limitation to the full scope of its

infringing activities, BJ’s infringes claim 1 of the ’133 Patent by having made and

used Express Pay. A more detailed analysis of BJ’s infringement of the ’133 Patent

can be found in Exhibit 6, which is incorporated in its entirety as if set forth herein.

       89.       Defendant knew or should have known of the ’133 Patent but was

willfully blind to the existence of the ’133 Patent. Defendant has had actual

knowledge of the ’133 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’133 Patent. Defendant’s infringement of the ’133 Patent has been willful and

deliberate.


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       90.       Defendant’s direct infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       91.       Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       92.       Defendant’s direct infringement has been without authority and/or

license from Plaintiffs.

                            COUNT V
          INDUCED INFRINGEMENT OF U.S. PATENT NO. 10,121,133

       93.       The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 6 is also incorporated in its entirety as if set forth herein.

       94.       Defendant has been actively inducing infringement of at least claim 1

of the ’133 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused Methods

and Products directly infringed at least claim 1 of the ’133 Patent when it uses the

Accused Methods and Products in the ordinary, customary, and intended way as

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set forth in BJ’s publications and source code, which include but are not limited to

those cited above. Defendant’s inducements included, without limitation and

with specific intent to encourage the infringement, knowingly inducing

consumers to use the Accused Methods and Products within the United States in

the ordinary, customary, and intended way by, directly or through intermediaries,

supplying the Accused Methods and Products to consumers within the United

States and instructing and encouraging such customers (for example, by offering

Express Pay) how to use the Accused Methods and Products in the ordinary,

customary, and intended way, which Defendant knows or should know infringes

at least claim 1 of the ’133 Patent.

       95.       Defendant’s inducements may further include, without limitation

and with specific intent to encourage the infringement, knowingly inducing

customers to use the Accused Methods and Products within the United States, or

knowingly inducing customers to use the Accused Methods and Products within

the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the Accused

Methods and Products in the United States, which Defendant knows or should

know infringes at least claim 1 of the ’133 Patent.

       96.       Defendant knew or should have known of the ’133 Patent but was

willfully blind to the existence of the ’133 Patent. Defendant has had actual


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knowledge of the ’133 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’133 Patent. Defendant’s infringement of the ’133 Patent has been willful and

deliberate.

       97.       Defendant’s induced infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       98.       Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       99.       Defendant’s induced infringement has been without authority

and/or license from Plaintiffs.




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                         COUNT VI
     CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 10,121,133

       100.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 6 is also incorporated in its entirety as if set forth herein.

       101.      Defendant has been actively contributing to infringement of at least

claim 1 of the ’133 Patent in violation of 35 U.S.C. § 271(c). Defendant has installed

the Express Pay system and application to enable a user of a mobile device to select

items in a store and self-checkout via a user interface rendered by the mobile self-

checkout application, which is specially made or especially adapted to practice the

invention claimed in at least claim 1 of the ’133 Patent.          Each Express Pay

component constitutes a material part of the claimed invention recited in at least

claim 1 of the ’133 Patent and is not a staple article or commodity of commerce

because it is specifically configured according to at least claim 1 of the ’133 Patent.

Defendant’s contributions include, without limitation, making, offering to sell,

and/or selling within the United States, and/or importing into the United States,

the Accused Methods and Products, which includes one or more components for

use in practicing the patented process, knowing the component to be especially

made or especially adapted for use in an infringement of at least claim 1 of the ’133

Patent, and not a staple article or commodity of commerce suitable for substantial

non-infringing use.

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       102.      Defendant knew or should have known of the ’133 Patent but was

willfully blind to the existence of the ’133 Patent. Defendant has had actual

knowledge of the ’133 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’133 Patent. Defendant’s infringement of the ’133 Patent has been willful and

deliberate.

       103.      Defendant’s contributory infringement has caused past and will

cause ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages

adequate to compensate for Defendant’s infringement.             Because Defendant’s

infringement has been and continues to be willful and deliberate, the Court should

award enhanced damages under 35 U.S.C. § 284 and find this case exceptional and

award attorney’s fees under 35 U.S.C. § 285.

       104.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       105.      Defendant’s contributory infringement has been without authority

and/or license from Plaintiffs.


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                           COUNT VII
        DIRECT INFRINGEMENT OF THE U.S. PATENT NO. 10,368,187

       106.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant.

       107.      The Accused Methods and Products are covered by at least claim 1 of

the ’187 Patent.

       108.      Claim 1 of the ’187 Patent recites:

                 A system for identifying available location-based services, the
                 system comprising:
                    a mobile application executable on a mobile computing device
                       operated by a user;
                    a database storing one or more previously ordered services
                       associated with the user, wherein the one or more previously
                       ordered services are pending services that are not yet
                       complete due to the services requiring an interaction of the
                       user with a physical facility;
                    a plurality of location-specific computing devices located at a
                       plurality of locations within a facility that are configured to
                       use location-based wireless communication to transmit a code
                       to the mobile application that identifies types of services
                       available to be performed at a location of a location-specific
                       computing device, at least one available service differing
                       between two of the plurality of locations, wherein the
                       available types of services are location-based services capable
                       of being performed at a location of a location-specific
                       computing device;
                    a machine-readable element configured to provide location
                       information used in initiating performance of one or more
                       available ordered services; and
                    a server communicatively coupled to the database and the mobile
                       application and hosting a services management framework

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                      configured to map the one or more previously ordered
                      services to the one or more available types of services to
                      determine one or more available ordered services at a location
                      of a location-specific computing device, wherein the one or
                      more available ordered services are ordered services capable
                      of being performed at a location of a location-specific
                      computing device,
                    wherein the mobile application is configured to:
                      receive a code from a first location-specific computing device
                          of the plurality of location-specific computing devices;
                      identify one or more available types of services based on the
                          code;
                      transmit, to the services management framework, the
                          identification of the one or more available types of services
                          and user authentication data;
                      receive an indication from the services management
                          framework of the one or more available ordered services;
                      decode the machine-readable element to decode location
                          information; and
                      initiate performance of at least one of the one or more
                          available ordered services determined by the services
                          management framework using the decoded location
                          information.

       109.      Defendant has infringed and continues to infringe, literally and/or

under the doctrine of equivalents, at least claim 1 of the ’187 Patent in violation of

35 U.S.C. § 271(a) by, directly or through intermediaries and without Plaintiffs’

authority, making, using, selling, and/or offering to sell the Accused Methods and

Products in the United States.

       110.      By way of illustration and not as a limitation to the full scope of its

infringing activities, BJ’s infringes claim 1 of the ’187 Patent by having made and

used the BJ’s Mobile App and Express Pay. A more detailed analysis of BJ’s


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infringement of the ’187 Patent can be found in Exhibit 7, which is incorporated in

its entirety as if set forth herein.

       111.      Defendant knew or should have known of the ’187 Patent but was

willfully blind to the existence of the ’187 Patent. Defendant has had actual

knowledge of the ’187 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’187 Patent. Defendant’s infringement of the ’187 Patent has been willful and

deliberate.

       112.      Defendant’s direct infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       113.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.


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       114.      Defendant’s direct infringement has been without authority and/or

license from Plaintiffs.

                         COUNT VIII
      INDUCED INFRINGEMENT OF THE U.S. PATENT NO. 10,368,187

       115.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 7 is also incorporated in its entirety as if set forth herein.

       116.      Defendant has been actively inducing infringement of at least claim 1

of the ’187 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused Methods

and Products directly infringed at least claim 1 of the ’187 Patent when it uses the

Accused Methods and Products in the ordinary, customary, and intended way as

set forth in BJ’s publications and source code, which include but are not limited to

those cited above. Defendant’s inducements included, without limitation and

with specific intent to encourage the infringement, knowingly inducing

consumers to use the Accused Methods and Products within the United States in

the ordinary, customary, and intended way by, directly or through intermediaries,

supplying the Accused Methods and Products to consumers within the United

States and instructing and encouraging such customers (for example, by offering

a system for identifying available location-based services through the BJ’s Mobile

App) how to use the Accused Methods and Products in the ordinary, customary,




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and intended way, which Defendant knows or should know infringes at least

claim 1 of the ’187 Patent.

       117.      Defendant’s inducements may further include, without limitation

and with specific intent to encourage the infringement, knowingly inducing

customers to use the Accused Methods and Products within the United States, or

knowingly inducing customers to use the Accused Methods and Products within

the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the Accused

Methods and Products in the United States, which Defendant knows or should

know infringes at least claim 1 of the ’187 Patent.

       118.      Defendant knew or should have known of the ’187 Patent but was

willfully blind to the existence of the ’187 Patent. Defendant has had actual

knowledge of the ’187 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’187 Patent. Defendant’s infringement of the ’187 Patent has been willful and

deliberate.

       119.      Defendant’s induced infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to


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compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       120.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       121.      Defendant’s induced infringement has been without authority

and/or license from Plaintiffs.

                        COUNT IX
  CONTRIBUTORY INFRINGEMENT OF THE U.S. PATENT NO. 10,368,187

       122.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 7 is also incorporated in its entirety as if set forth herein.

       123.      Defendant has been actively contributing to infringement of at least

claim 1 of the ’187 Patent in violation of 35 U.S.C. § 271(c). Defendant has installed

the BJ’s Mobile App system and application to enable identification of available

location-based services, which is specially made or especially adapted to practice

the invention claimed in at least claim 1 of the ’187 Patent. Each component of BJ’s

Mobile App constitutes a material part of the claimed invention recited in at least

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claim 1 of the ’187 Patent and is not a staple article or commodity of commerce

because it is specifically configured according to at least claim 1 of the ’187 Patent.

Defendant’s contributions include, without limitation, making, offering to sell,

and/or selling within the United States, and/or importing into the United States,

the Accused Methods and Products, which includes one or more components for

use in practicing the patented process, knowing the component to be especially

made or especially adapted for use in an infringement of at least claim 1 of the ’187

Patent, and not a staple article or commodity of commerce suitable for substantial

non-infringing use.

       124.      Defendant knew or should have known of the ’187 Patent but was

willfully blind to the existence of the ’187 Patent. Defendant has had actual

knowledge of the ’187 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’187 Patent. Defendant’s infringement of the ’187 Patent has been willful and

deliberate.

       125.      Defendant’s contributory infringement has caused past and will

cause ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages

adequate to compensate for Defendant’s infringement.            Because Defendant’s


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infringement has been and continues to be willful and deliberate, the Court should

award enhanced damages under 35 U.S.C. § 284 and find this case exceptional and

award attorney’s fees under 35 U.S.C. § 285.

       126.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       127.      Defendant’s contributory infringement has been without authority

and/or license from Plaintiffs.

                            COUNT X
        DIRECT INFRINGEMENT OF THE U.S. PATENT NO. 10,368,188

       128.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant.

       129.      The Accused Methods and Products are covered by at least claim 1 of

the ’188 Patent.

       130.      Claim 1 of the ’188 Patent recites:

                 A system for identifying location-based services, the system
                 comprising:
                    a mobile application executable on a mobile computing device
                       operated by a user;
                    a database storing one or more previously ordered services
                       associated with the user, wherein the one or more previously
                       ordered services are pending services that are not yet

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                    complete due to the services requiring an interaction of the
                    user with a physical facility;
                 a machine-readable element generator associated with a local
                    computing device and located within the physical facility, the
                    machine-readable element generator configured to generate
                    and display a machine-readable element that identifies types
                    of services available to be performed at a location of the
                    machine-readable element, wherein the one or more available
                    types of services are location-based services capable of being
                    performed at a location of the local computing device
                    associated with the machine-readable element; and
                 a server communicatively coupled to the database and the mobile
                    application and hosting a services management framework
                    configured to map the one or more previously ordered
                    services to the one or more available types of services to
                    determine one or more available previously ordered services
                    at the location of the machine-readable element, wherein the
                    one or more available previously ordered services are ordered
                    services capable of being performed at the location of the local
                    computing device associated with the machine-readable
                    element,
                 wherein the mobile application is configured to:
                    scan and decode the machine-readable element, the machine-
                        readable element providing the mobile application with an
                        identity of the local computing device associated with the
                        machine-readable element;
                    identify the one or more available types of services based on
                        the decoded machine readable element;
                    transmit, to the services management framework, the
                        identification of the one or more available types of services
                        so that the services management framework determines
                        one or more available previously ordered services at the
                        location of the machine-readable element;
                    receive, from the services management framework, an
                        indication of the one or more available previously ordered
                        services;
                    receive a user selection to initiate performance of at least one
                        of the one or more available previously ordered services;
                        and


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                       communicate the selected one or more available previously
                         ordered services, authentication information, and location
                         identification information to the local computing device to
                         initiate performance of the selected one or more available
                         previously ordered services.

       131.      Defendant has infringed and continues to infringe, literally and/or

under the doctrine of equivalents, at least claim 1 of the ’188 Patent in violation of

35 U.S.C. § 271(a) by, directly or through intermediaries and without Plaintiffs’

authority, making, using, selling, and/or offering to sell the Accused Methods and

Products in the United States.

       132.      By way of illustration and not as a limitation to the full scope of its

infringing activities, BJ’s infringes claim 1 of the ’420 Patent by having made and

used the BJ’s Mobile App and Express Pay. A more detailed analysis of BJ’s

infringement of the ’188 Patent can be found in Exhibit 8, which is incorporated in

its entirety as if set forth herein.

       133.      Defendant knew or should have known of the ’188 Patent but was

willfully blind to the existence of the ’188 Patent. Defendant has had actual

knowledge of the ’188 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of




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the ’188 Patent. Defendant’s infringement of the ’188 Patent has been willful and

deliberate.

       134.      Defendant’s direct infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       135.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.

       136.      Defendant’s direct infringement has been without authority and/or

license from Plaintiffs.

                          COUNT XI
      INDIRECT INFRINGEMENT OF THE U.S. PATENT NO. 10,368,188

       137.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 8 is also incorporated in its entirety as if set forth herein.

       138.      Defendant has been actively inducing infringement of at least claim 1

of the ’188 Patent in violation of 35 U.S.C. § 271(b). Users of the Accused Methods

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and Products directly infringed at least claim 1 of the ’188 Patent when it uses the

Accused Methods and Products in the ordinary, customary, and intended way as

set forth in BJ’s publications and source code, which include but are not limited to

those cited above. Defendant’s inducements included, without limitation and

with specific intent to encourage the infringement, knowingly inducing

consumers to use the Accused Methods and Products within the United States in

the ordinary, customary, and intended way by, directly or through intermediaries,

supplying the Accused Methods and Products to consumers within the United

States and instructing and encouraging such customers (for example, by offering

a system for identifying available location-based services through the BJ’s Mobile

App) how to use the Accused Methods and Products in the ordinary, customary,

and intended way, which Defendant knows or should know infringes at least

claim 1 of the ’188 Patent.

       139.      Defendant’s inducements may further include, without limitation

and with specific intent to encourage the infringement, knowingly inducing

customers to use the Accused Methods and Products within the United States, or

knowingly inducing customers to use the Accused Methods and Products within

the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the Accused




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Methods and Products in the United States, which Defendant knows or should

know infringes at least claim 1 of the ’188 Patent.

       140.      Defendant knew or should have known of the ’188 Patent but was

willfully blind to the existence of the ’188 Patent. Defendant has had actual

knowledge of the ’188 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’188 Patent. Defendant’s infringement of the ’188 Patent has been willful and

deliberate.

       141.      Defendant’s induced infringement has caused past and will cause

ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages adequate to

compensate for Defendant’s infringement. Because Defendant’s infringement has

been and continues to be willful and deliberate, the Court should award enhanced

damages under 35 U.S.C. § 284 and find this case exceptional and award attorney’s

fees under 35 U.S.C. § 285.

       142.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.


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       143.      Defendant’s induced infringement has been without authority

and/or license from Plaintiffs.

                        COUNT XII
  CONTRIBUTORY INFRINGEMENT OF THE U.S. PATENT NO. 10,368,188

       144.      The allegations of paragraphs 1-60 are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against

Defendant. Exhibit 8 is also incorporated in its entirety as if set forth herein.

       145.      Defendant has been actively contributing to infringement of at least

claim 1 of the ’188 Patent in violation of 35 U.S.C. § 271(c). Defendant has installed

the BJ’s Mobile App system and application to enable identification of available

location-based services, which is specially made or especially adapted to practice

the invention claimed in at least claim 1 of the ’188 Patent. Each component of BJ’s

Mobile App constitutes a material part of the claimed invention recited in at least

claim 1 of the ’188 Patent and is not a staple article or commodity of commerce

because it is specifically configured according to at least claim 1 of the ’188 Patent.

Defendant’s contributions include, without limitation, making, offering to sell,

and/or selling within the United States, and/or importing into the United States,

the Accused Methods and Products, which includes one or more components for

use in practicing the patented process, knowing the component to be especially

made or especially adapted for use in an infringement of at least claim 1 of the ’188




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Patent, and not a staple article or commodity of commerce suitable for substantial

non-infringing use.

       146.      Defendant knew or should have known of the ’188 Patent but was

willfully blind to the existence of the ’188 Patent. Defendant has had actual

knowledge of the ’188 Patent since at least as early as the filing of and service of

this Complaint. By the time of the trial of this case, Defendant will have known

and intended that its continued actions since receiving such notice would infringe

and actively induce and contribute to the infringement of one or more claims of

the ’188 Patent. Defendant’s infringement of the ’188 Patent has been willful and

deliberate.

       147.      Defendant’s contributory infringement has caused past and will

cause ongoing injury to Plaintiffs. Plaintiffs are entitled to recover damages

adequate to compensate for Defendant’s infringement.             Because Defendant’s

infringement has been and continues to be willful and deliberate, the Court should

award enhanced damages under 35 U.S.C. § 284 and find this case exceptional and

award attorney’s fees under 35 U.S.C. § 285.

       148.      Plaintiffs have suffered and will continue to suffer irreparable injury

as a direct and proximate result of Defendant’s infringement for which there is no

adequate remedy at law. Unless Defendant is enjoined, Plaintiffs will continue to

suffer such irreparable injury.


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       149.      Defendant’s contributory infringement has been without authority

and/or license from Plaintiffs.

                              DEMAND FOR JURY TRIAL

       150.      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs request

a jury trial of all issues triable of right by a jury.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter an order

providing the following relief:

                 (a) A judgment in favor of Plaintiffs that Defendant has infringed

each Asserted Patent, whether literally or under the doctrine of equivalents;

                 (b) A judgment that such infringement of each Asserted Patent has

been willful and deliberate as described herein;

                 (c) A judgment and order permanently enjoining Defendant, its

officers, agents, servants, employees, attorneys, and all those persons in active

concert or participation with it, from further acts of infringement of the Asserted

Patents pursuant to 35 U.S.C. § 283;

                 (d) A judgment and order requiring Defendant to pay Plaintiffs’

damages, costs, expenses, and pre-judgment and post-judgment interest for

Defendant’s infringement of each Asserted Patent as provided under 35 U.S.C. §




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284, including supplemental damages for any continuing post-verdict or post-

judgment infringement with an accounting as needed;

                 (e) A judgment and order requiring Defendant to pay Plaintiffs

enhanced damages for willful infringement as provided under 35 U.S.C. § 284;

                 (f) A judgment and order finding this case exceptional and requiring

Defendant to pay Plaintiffs their reasonable attorneys’ fees and costs incurred in

this litigation pursuant to 35 U.S.C. § 285, together with pre-judgment and post-

judgment interest thereon; and

                 (g) Awarding Plaintiffs all such other and further relief, in law or

equity, as the Court deems just and proper under the circumstances.

 Dated: March 22, 2022                  Respectfully submitted,

                                        DLA PIPER LLP (US)

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